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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,

Plaintiff, Case: 5:23-cr-20445
Judge: Levy, Judith E.
MJ: Altman, Kimberly G.
Filed: 08-01-2023 At 03:46 PM
INDI USA V. SEALED MATTER (KB)

V.
Devon Tosoian,

Defendant
/

GOVERNMENT’S MOTION AND SUPPORTING BRIEF
TO SEAL INDICTMENT

The United States of America hereby moves for an order sealing the Indictment

in this case and states:

1. The indictment in this case charges the Defendant with one or more federal

crimes.
2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure provides:

(4) Sealed Indictment. The magistrate judge to whom an indictment is
returned may direct that the indictment be kept secret until the defendant is
in custody or has been released pending trial. The clerk must then seal the
indictment, and no person may disclose the indictment’s existence except as

necessary to issue or execute a warrant or summons.

Fed.R.Crim.P. 6(e)(4).
3. The government requests that the Indictment be sealed because it is

concemed that the Defendant may attempt to flee, destroy evidence, or

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intimidate witnesses if the Indictment becomes a matter of public record
before the Defendant is arrested.
WHEREFORE, the government requests this Court to issue an order
sealing the Indictment.
Respectfully submitted,

DAWN N. ISON
United States Attorney

s/ Nhan Ho

Nhan Ho

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Dated: August 1, 2023

IT IS SO ORDERED.

s/Kimberly G. Altman

Honorable Kimberly G. Altman
United States Magistrate Judge

Entered: RG 01 2023

